Case 3:17-cv-02278-X         Document 376        Filed 12/19/22       Page 1 of 3     PageID 10403



                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                    Dallas Division



     CHARLENE CARTER,                                 Civil Case No. 3:17-cv-02278-X

                         Plaintiff,

     V.

     SOUTHWEST AIRLINES CO., AND
     TRANSPORT WORKERS UNION OF AMERICA,
     LOCAL 556,

                         Defendants.



      PLAINTIFF CHARLENE CARTER’S MOTION FOR ATTORNEYS’ FEES AND
     EXPENSES FROM SOUTHWEST AIRLINES CO. AND TRANSPORT WORKERS
                      UNION OF AMERICA, LOCAL 556

      Pursuant to Federal Rule of Civil Procedure, Rule 54(d)(2), Plaintiff Charlene Carter

 (“Carter”), by and through her undersigned attorneys, moves the Court to grant this application for

 reasonable attorneys’ fees and expenses under 42 U.S.C. § 2000e-5(k), § 2000e-5(g)(2)(B(i), and

 § 1988(b).1 This petition is based upon the Court’s December 5, 2022 entry of judgment2 on the

 jury’s verdict3 in Carter’s favor on her Title VII religious discriminations claims against Southwest

 Airlines Co. (“Southwest”) and Transport Workers Union of America, Local 556 (“Local 556”).

 Accordingly, Carter requests that the Court award her $2,262,437.89 in reasonable attorneys’ fees

 and expenses against Southwest and Local 556,4 plus at 25% lodestar enhancement, and order

 them to pay these amounts to the National Right to Work Legal Defense Foundation, Inc.


 1
   See Vaughn v. Neb. Furniture Mart, LLC, Case No. 3:19-CV-1220-C-BK, 2020 WL 1695695,
 *6 (N.D. Tex. Mar. 12, 2020).
 2
   Doc. No. 374, 375.
 3
   Doc. No. 348.
 4
   This amount includes $2,212,914.00 in attorneys’ fees and $49,523.89 in expenses.
                                                  1
Case 3:17-cv-02278-X        Document 376        Filed 12/19/22       Page 2 of 3      PageID 10404



 (“Foundation”), who has underwritten all of Carter’s attorneys’ fees, costs, and expenses as part

 of its legal aid program.5 Additionally, Carter contemporaneously files a separate Bill of Costs

 seeking $21,670.10 pursuant to this Court’s December 5 Order and Local Civil Rule 54.1.

 Dated: December 19, 2022                      Respectfully submitted,


                                               /s/ Matthew B. Gilliam
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 5
   App.5, Declaration of Matthew Gilliam (“Gilliam Declaration”), ¶11. Pursuant to Carter’s
 Retainer Authorization, the Foundation is entitled to any attorneys’ fees, expenses, or costs that
 opposing parties are ordered to pay. Id. Where an attorney is awarded fees after a pro bono
 representation, it is appropriate to direct the attorney fee payment directly to that counsel. Adams
 & Boyle, P.C. v. Slatery, No. 3:15-CV-00705, 2022 WL 1432539, at *1 (M.D. Tenn. May 5, 2022).
                                                  2
Case 3:17-cv-02278-X       Document 376        Filed 12/19/22      Page 3 of 3     PageID 10405




                                     Certificate of Service

    I hereby certify that on December 19, 2022, I electronically filed the foregoing document with

 the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

 all counsel of record


                                             /s/ Matthew B. Gilliam




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